      Case 4:10-cr-00013-BSM Document 452 Filed 07/28/20 Page 1 of 1



                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          CENTRAL DIVISION

UNITED STATES OF AMERICA                                                  PLAINTIFF

v.                      Case No. 4:10-CR-00013-2 BSM

RODNEY D. BROWN                                                      DEFENDANT

                                    ORDER

     Rodney Brown’s motion for reconsideration [Doc. No. 451] is denied

     IT IS SO ORDERED this 28th day of July, 2020.



                                              UNITED STATES DISTRICT JUDGE
